Case 2:16-bk-17571-BR        Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38               Desc
                              Main Document    Page 1 of 57


   1   Ure Law Firm                                               (SPACE BELOW FOR FILING STAMP ONLY)
       800 West 6th Street, Suite 940
   2   Los Angeles, California 90017
       TEL.: (213) 202-6070
   3   FAX.: (213) 202-6075
       Thomas B. Ure (CA State Bar No. 170492)
   4   email: tom@urelawfirm.com
   5   Attorney for:    Debtor
   6
   7
   8                             UNITED STATES BANKRUPTCY COURT
   9              CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
  10
  11   IN RE:                            )           Case No. 2:16-bk-17571-BR
                                         )
  12   ALVARO A. BAUTISTA,               )           Chapter 11
                                         )
  13                     Debtor.         )           NOTICE OF MOTION AND MOTION OF
                                         )           DEBTORS FOR VALUATION OF SECURED
  14                                     )           CLAIM AND TO AVOID THE LIEN OF BANK
                                         )           OF AMERICA, N.A.; MEMORANDUM OF
  15                                     )           POINTS AND AUTHORITIES; AND
                                         )           DECLARATIONS OF ALVARO BAUTISTA
  16                                     )
                                         )           DATE:          August 1, 2018
  17                                     )           TIME:          2:00 p.m.
                                         )           PLACE:         255 E. Temple Street
  18                                     )                          Courtroom 1668
                                         )                          Los Angeles, CA 90012
  19                                     )
                                         )
  20                                     )
                                         )
  21                                     )
       _________________________________ )
  22
  23   TO ALL INTERESTED PARTIES AS SET FORTH ON THE ATTACHED PROOF OF

  24   SERVICE:

  25            You and each of you will please take notice that on August 1, 2018, in Courtroom 1668,

  26   located at 255 E Temple Street, Los Angeles, California, the Court will hold a hearing on the

  27   Debtor’s MOTION OF DEBTORS FOR VALUATION OF SECURED CLAIM AND TO AVOID

  28   THE LIEN OF BANK OF AMERICA, N.A.
Case 2:16-bk-17571-BR          Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38                Desc
                                Main Document    Page 2 of 57


   1           Written response, if any, must be filed with the court and served upon counsel herein and the
   2   Chapter 13 Trustee in conformance with Local Bankruptcy Rule 9013-1(1)(g) not less than fourteen
   3   (14) days prior to said hearing. Failure to file and serve such written response may be deemed to
   4   constitute a waiver and consent to the relief requested. You are referred to the within Motion for
   5   further particulars.
   6                                                MOTION
   7           Pursuant to the provisions of Bankruptcy Rule of Procedure 3012 and 11 U.S.C Section 506
   8   of the Bankruptcy Code, Debtor ALVARO A. BAUTISTA hereby moves for an Order of Court
   9   avoiding the lien of BANK OF AMERICA, N.A., secured by a Second Trust Deed on Debtors' rental
  10   property, located at and commonly known as 1502 West 206th Street (hereinafter “the property”), and
  11   legally described as:
  12           Lot 15 of Block 50 of Tract No. 4983, in the City of Los Angeles, County of Los
  13           Angeles, State of California, as per Map recorded in Book 58, Pages 80 to 85
  14           inclusive of Maps, in the Office of the County Recorder of said County.
  15           By this motion and evidence presented in the Declaration of Alvaro A. Bautista, Debtor
  16   requests that the Court value the BANK OF AMERICA, N.A. as an allowed secured claim against
  17   subject property of $0.00.
  18           Debtors further seek that, upon entry of final decree of his bankruptcy case, the subject lien
  19   will be extinguished.
  20   ///
  21   ///
  22   ///
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                                                       -2-
Case 2:16-bk-17571-BR       Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38                  Desc
                             Main Document    Page 3 of 57


   1          This Motion is made pursuant to Bankruptcy Rule of Procedure 3012, and is based on the
   2   representations made in this pleading, the attached MEMORANDUM OF POINTS AND
   3   AUTHORITIES, the DECLARATION OF ALVARO A. BAUTISTA, all papers on file in this case
   4   and such additional evidence as may be presented at the hearing on this motion.
   5
   6                                                                Respectfully submitted,
   7                                                                URE LAW FIRM
   8
   9   DATED:      6/25/2018                                  By:     /s/ Thomas B. Ure
                                                                    Thomas B. Ure
  10                                                                Attorney for Debtor
                                                                    Alvaro A. Bautista
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                                                     -3-
Case 2:16-bk-17571-BR        Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38                  Desc
                              Main Document    Page 4 of 57


   1                       MEMORANDUM OF POINTS AND AUTHORITIES
   2                                                    I.
   3                                 INTRODUCTORY STATEMENT
   4          The Debtor believes that the subject real property had a market value at the time of the filing
   5   of this case of $675,000.00 and it is subject to a senior First Trust Deed in favor of U.S. BANK
   6   NATIONAL ASSOCIATION, AS TRUSTEE, SUCCESSOR IN INTEREST TO BANK OF
   7   AMERICA, NATIONAL ASSOCIATION, AS TRUSTEE, SUCCESSOR BY MERGER TO
   8   LASALLE BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR MERRILL LYNCH
   9   MORTGAGE INVESTORS TRUST, MORTGAGE LOAN ASSET-BACKED CERTIFICATES,
  10   SERIES 2006-RM1 (hereinafter “FIRST TRUST DEED CLAIM”) with an outstanding principal
  11   balance exceeding $1,114,592.60 and a Second Trust Deed in favor of BANK OF AMERICA, N.A.
  12   (hereafter “SECOND TRUST DEED CLAIM”) with an outstanding balance exceeding $53,000.00
  13   (See attached DECLARATION OF ALVARO A. BAUTISTA).
  14          If the Court finds the Debtor’s valuation to be accurate, then the entire claim of the SECOND
  15   TRUST DEED CLAIM in the sum of at least $53,000.00 is, by virtue of that finding, not secured
  16   by the subject property and subject to avoidance.
  17                                                    II.
  18      THE COURT IS AUTHORIZED TO BIFURCATE THE REAL PROPERTY LIENS
  19     INTO CLAIMS THAT ARE SECURED OR PARTIALLY SECURED, AND CLAIMS
  20                               THAT ARE WHOLLY UNSECURED
  21          A party in interest may move the Court to determine the value of a claim secured by a lien
  22   on property in which the estate has an interest. Bankruptcy Rule 3012. A party in interest includes
  23   the Debtor. Under Bankruptcy Code Section 506(a), the claim of a secured creditor is subject to
  24   valuation and bifurcation so that the creditor will have a secured claim equal to the value of the
  25   collateral and an unsecured claim for the deficiency. See generally, In Re Houghland, 886 F.2d 1182
  26   (9th Cir. 1989) and In Re Greystone III Joint Venture, 102 Bankr. 560, 561 (Bankr. WD, Tex 1989)
  27   (“Greystone”).
  28

                                                       -4-
Case 2:16-bk-17571-BR         Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38                   Desc
                               Main Document    Page 5 of 57


   1          In the instant case, the subject property is not Debtor’s principal residence and it is valued
   2   at $675,000.00 (See Declaration of Alvaro A. Bautista). There is a FIRST TRUST DEED CLAIM
   3   in the amount of $1,114,592.60. Therefore, the SECOND TRUST DEED CLAIM is wholly
   4   unsecured because the value of the senior First Deed of Trust lienhold exceeds the value of the
   5   collateral. Thus, the rights of the holder of the SECOND TRUST DEED CLAIM may be modified
   6   to reflect a secured claim of $0.00 and the lien is subject to avoidance.
   7                                                    III.
   8                                             CONCLUSION
   9         In light of the foregoing points and authorities and the fact that the subject lien is not secured
  10 by the subject property, the Court should allow Debtors to modify the SECOND TRUST DEED
  11 CLAIM held by BANK OF AMERICA, N.A. and, upon entry of the Final Decree, avoid the lien.
  12
  13                                                                  Respectfully submitted,
  14
                                                                      URE LAW FIRM
  15
       DATED:     6/25/2018                                     By:     /s/ Thomas B. Ure
  16                                                                  Thomas B. Ure
                                                                      Attorney for Debtor
  17                                                                  Alvaro A. Bautista
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Case 2:16-bk-17571-BR        Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38                  Desc
                              Main Document    Page 6 of 57


   1                           DECLARATION OF ALVARO A. BAUTISTA
   2 I, ALVARO A. BAUTISTA, hereby declare as follows:
   3          1.     I am the Debtor in United States Bankruptcy Court Case Number 2:16-bk-17571-BR.
   4 I have personal knowledge of the facts stated herein and, if called upon to testify thereto, I could and
   5 would do so competently and truthfully.
   6          2.     I am the owner of the real property commonly known as 1502 W. 206th Street,
   7 Torrance, CA 90501 (hereinafter “the Property”).
   8          3.     The Property is subject to a note and First Deed of Trust in favor of U.S. Bank, N.A.
   9 whose current servicer is Nationstar Mortgage (“FIRST TRUST DEED CLAIM”). I have been
  10 informed and believe the outstanding balance on said loan, as of the recording of a Notice of Sale,
  11 was $1,114,592.60. Attached hereto, marked as Exhibit “A”, is a true and correct copy of the Notice
  12 of Sale from the FIRST TRUST DEED CLAIM which was dated February 15, 2016.
  13          4.     The Property is further encumbered by a Second Trust Deed in favor of BANK OF
  14 AMERICA,N.A. whose current servicer is Real Time Resolutions, Inc. (“SECOND TRUST DEED
  15 CLAIM”). I have not received any statements from the servicer or its assignor in over 10 years. No
  16 Proof of Claim has been filed on behalf of the SECOND TRUST DEED CLAIM as of the date of this
  17 declaration. The original balance on the loan was $53,000.00. Due to years of nonpayment on the
  18 loan, the balance must be higher than the original loan amount.
  19          5.     The FIRST TRUST DEED CLAIM is based on a Deed of Trust recorded on December
  20 16, 2005 as instrument number 05 3103048. Please see Exhibit “B” true and correct copy of the
  21 recorded deed of trust for the FIRST TRUST DEED CLAIM.
  22          6.     The SECOND TRUST DEED CLAIM is based upon a Deed of Trust recorded on
  23 December 5, 2006 as instrument number 06 2693032. Please see Exhibit “C” true and correct copy
  24 of the recorded deed of trust for the SECOND TRUST DEED CLAIM.
  25          7.     Due to the fact that the FIRST TRUST DEED CLAIM was recorded prior to the
  26 SECOND TRUST DEED CLAIM, it has senior position.
  27          8.     I believe the value of the property is no more than $675,000.00. On May 22, 2017,
  28 I reached a Stipulation with the FIRST TRUST DEED CLAIM which stipulated that the value of the

                                                       -6-
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 7 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 8 of 57




                                  EXHIBIT A
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 9 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 10 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 11 of 57




                                  EXHIBIT B
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 12 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 13 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 14 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 15 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 16 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 17 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 18 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 19 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 20 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 21 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 22 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 23 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 24 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 25 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 26 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 27 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 28 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 29 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 30 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 31 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 32 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 33 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 34 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 35 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 36 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 37 of 57




                                  EXHIBIT C
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 38 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 39 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 40 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 41 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 42 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 43 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 44 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 45 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 46 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 47 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 48 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 49 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 50 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 51 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 52 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 53 of 57
Case 2:16-bk-17571-BR   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38   Desc
                         Main Document    Page 54 of 57
            Case 2:16-bk-17571-BR                    Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38                                                   Desc
                                                      Main Document    Page 55 of 57
                                                 PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
800 West 6th Street., Suite 940
Los Angeles, CA 90017

                                         NOTICE OF MOTION AND MOTION OF DEBTORS
A true and correct copy of the foregoing document entitled (specify):
FOR VALUATION OF SECURED CLAIM AND TO AVOID THE LIEN OF BANK OF AMERICA, N.A.;
MEMORANDUM OF POINTS AND AUTHORITIES; AND DECLARATIONS OF ALVARO BAUTISTA will
be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) 07/11/2018 , I checked the
CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail
Notice List to receive NEF transmission at the email addresses stated below:


ATTORNEY FOR CREDITOR Brandye N Foreman cdcaecf@bdfgroup.com
ATTORNEY FOR CREDITOR Todd S Garan ch11ecf@aldridgepite.com,
TSG@ecf.inforuptcy.com;tgaran@aldridgepite.com
ATTORNEY FOR CREDITOR Merdaud Jafarnia bknotice@mccarthyholthus.com, mjafarnia@ecf.inforuptcy.com
ATTORNEY FOR CREDITOR Erin M McCartney bankruptcy@zbslaw.com, emccartney@ecf.courtdrive.com
ATTORNEY FOR TRUSTEE Ron Maroko ron.maroko@usdoj.gov
ATTORNEY FOR CREDITOR Cassandra J Richey cmartin@pralc.com
ATTORNEY FOR CREDITOR Edward A Treder cdcaecf@bdfgroup.com
U.S. TRUSTEE United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
ATTORNEY FOR DEBTOR Thomas B Ure tbuesq@aol.com, ThomasUre@aol.com

                                                                                              Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) 07/11/2018 , I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing
to the judge will be completed no later than 24 hours after the document is filed.

United States Bankruptcy Court
Honorable Barry Russell
255 E. Temple Street, Suite 1660 / Courtroom 1668
Los Angeles, CA 90012

                                                                                              Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)       , I served the following persons and/or entities
by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.


                                                                                              Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
07/11/2018                    Yolanda Segura                                                    /s/ Yolanda Segura
Date                          Printed Name                                                      Signature




                   This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
June 2013                                                                   Page 8                                           F 3012-1.MOTION.VALUATION
            Case 2:16-bk-17571-BR                   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38                                                   Desc
                                                     Main Document    Page 56 of 57
(Attached page to Proof of Service-please include any additional or alternative addresses and attach additional pages if
         needed)
(Certified Mail required for service on a national bank.)

Name of 1st Lienholder)Agent for Service              Address from:                                              Delivery Method
of Process (Name & Address)                             Proof of Claim                                              US Mail
U.S. Bank National Association                          Secretary of State                                          Certified Mail -
Attn: Richard K. Davis, Chairman and                    FDIC website                                             Tracking# 7012-3460-0000-2989-6854
Chief Executive Officer                                 Other: specify                                           Overnight Mail - Tracking#
425 Walnut Street                                                                                                Carrier Name:
Cincinnati, OH 45202
Name of 1st Lienholder)Agent for                      Address from:                                              Delivery Method
Service of Process (Name & Address)                     Proof of Claim                                              US Mail
CSC - Lawyers Incorporation Service                     Secretary of State                                          Certified Mail -
2710 Gateway Oaks Drive, Suite 150N                     FDIC website                                             Tracking#
Sacramento, CA 95833                                    Other: specify                                              Overnight Mail -
                                                                                                                 Tracking#
                                                                                                                 Carrier Name:
Name of 1st Lienholder)Agent for                      Address from:                                              Delivery Method
Service of Process (Name & Address)                     Proof of Claim                                              US Mail
                                                        Secretary of State                                          Certified Mail -
                                                        FDIC website                                             Tracking#
                                                        Other: specify                                              Overnight Mail -
                                                                                                                 Tracking#
                                                                                                                 Carrier Name:



Name of 2nd Lienholder)Agent for                      Address from:                                              Delivery Method
Service of Process (Name & Address)                     Proof of Claim                                              US Mail
Bank of America, N.A.                                   Secretary of State                                          Certified Mail -
Attn: Brian Moynihan, Chief                             FDIC website                                             Tracking# 7012-3460-0000-2989-6861
Executive Officer                                       Other: specify                                              Overnight Mail -
101 S. Tryon St.                                                                                                 Tracking#
                                                                                                                 Carrier Name:
Charlotte, NC 28202



Name of 2nd Lienholder)Agent for                      Address from:                                              Delivery Method
Service of Process(Name & Address)                      Proof of Claim                                              US Mail
                                                        Secretary of State                                          Certified Mail -
                                                        FDIC website                                             Tracking#
                                                        Other: specify                                              Overnight Mail -
                                                                                                                 Tracking#
                                                                                                                 Carrier Name:
2nd lienholder (name) and Agent for                   Address from:                                              Delivery Method
Service of Process (name and address)
                                                        Proof of Claim                                              US Mail
Bank of America, N.A.
                                                        Secretary of State                                          Certified Mail -
C/O: CT CORPORATION SYSTEM                              FDIC website                                             Tracking#
818 WEST SEVENTH ST.                                    Other: specify                                              Overnight Mail -
LOS ANGELES, CA 90017                                                                                            Tracking#
                                                                                                                 Carrier Name:




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
June 2013                                                                  Page 9                                           F 3012-1.MOTION.VALUATION
            Case 2:16-bk-17571-BR                   Doc 120 Filed 07/11/18 Entered 07/11/18 12:13:38                                                   Desc
                                                     Main Document    Page 57 of 57
Name of 3rd Lienholder)                               Address from:                                              Delivery Method
                                                        Proof of Claim                                              US Mail
                                                        Secretary of State                                          Certified Mail -
Agent for Service of Process                            FDIC website                                             Tracking#
(Name & Address)                                        Other: specify                                              Overnight Mail -
                                                                                                                 Tracking#
                                                                                                                 Carrier Name:

Name of 3rd Lienholder)                               Address from:                                              Delivery Method
                                                        Proof of Claim                                              US Mail
                                                        Secretary of State                                          Certified Mail -
Agent for Service of Process                            FDIC website                                             Tracking#
(Name & Address)                                        Other: specify                                              Overnight Mail -
                                                                                                                 Tracking#
                                                                                                                 Carrier Name:

Name of 3rd Lienholder)                               Address from:                                              Delivery Method
                                                        Proof of Claim                                              US Mail
                                                        Secretary of State                                          Certified Mail -
Agent for Service of Process                            FDIC website                                             Tracking#
(Name & Address)                                        Other: specify                                              Overnight Mail -
                                                                                                                 Tracking#
                                                                                                                 Carrier Name:




Altnerative/Additional Address                        Address from:                                              Delivery Method
(Name & Address)                                        Proof of Claim                                              US Mail
                                                        Secretary of State                                          Certified Mail -
                                                        FDIC website                                             Tracking#
                                                        Other: specify                                              Overnight Mail -
                                                                                                                 Tracking#
                                                                                                                 Carrier Name:
Altnerative/Additional Address                        Address from:                                              Delivery Method
(Name & Address)                                        Proof of Claim                                              US Mail
                                                        Secretary of State                                          Certified Mail -
                                                        FDIC website                                             Tracking#
                                                        Other: specify                                              Overnight Mail -
                                                                                                                 Tracking#
                                                                                                                 Carrier Name:




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
June 2013                                                                  Page 10                                           F 3012-1.MOTION.VALUATION
